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                                United States District Court

                                      District of Maine



IN RE: USA v. MST MINERALIEN                      )
SCHIFFARHT SPEDITION UND                          ) Docket Number. 2:18-mc-00127-NT
TRANSPORT GMBH et al.                             )


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                ) Docket Number 2:17-cr-00117-NT
                                                  )
MST MINERALIEN SCHIFFARHT                         )
SPEDITION UND TRANSPORT GMBH et al,               )




                                  PROCEDURAL ORDER

       Pending before me in In Re: USA v. MST Mineralien Schiffarht Spedition Und

Transport GmbH, Docket Number 2:18-mc-00127-NT is the Motion of MSSRS. Hornof,

Kordic, and Zak (“Movants”) for a Hearing and Oral Argument (ECF No. 14) involving their

claims that they are victims under 18 U.S.C. § 3771 with the rights to be heard at

sentencing and to restitution for harm caused by the defendants in United States of

America v. MST Mineralien Schiffarht Spedition Und Transport GmbH, et al., Docket

Number 2:17-cr-00117-NT. The movants have submitted affidavits, see 2:18-mc-00127-NT

at ECF Nos. 4, 5, and 6, in support of their claims that they are victims. Even if they do not

qualify as victims, they argue that they have standing to object to the plea agreement. And

even if I decide to accept the plea agreement, they argue that they are entitled to a portion

of the fine under 33 U.S.C. § 1908(a). The issues have been fully briefed.


       The criminal case, USA v. MST (2:17-cr-00117-NT), is scheduled for sentencing on

September 6, 2018. I will allow one hour for oral argument on the issues raised by the

movants on the morning of September 6th. In order to determine whether additional time
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should be allotted for the presentation of evidence, I hereby order the parties to notify the

Clerk by August 30, 2018, whether they dispute the factual assertions made in the

movants’ affidavits in 2:18-mc-00127-NT and/or whether they wish to offer additional

evidence before the oral argument.


       So ORDERED.

       Dated: August 28, 2018                      /s/NANCY TORRESEN
                                                   Chief U.S. District Judge
